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               UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION

IN RE:

DON THORNTON WILSON                              CASE NO.: 17-40327-KKS
                                                 CHAPTER: 7

     Debtor.
                                         /


          ORDER VACATING ORDER APPROVING DEBTOR’S
         APPLICATION TO HAVE THE CHAPTER 7 FILING FEE
                       WAIVED (DOC. 20)

     THIS MATTER is before the Court sua sponte. The Debtor

commenced this Chapter 7 Case by filing his Petition on July 27, 2017

(Doc. 1). N November 7, 2017, Debtor filed his Application to Have the

Chapter 7 Filing Fee Waived (“Application,” Doc. 19). After a review of

Debtor’s Schedules, the Application was approved on November 13, 2017

(“Order,” Doc. 20). The Order states, in pertinent part:

     This order is subject ot being vacated at a later time if
     developments in the administration of the bankruptcy case
     demonstrate that the waiver was unwarranted or it appears
     that the filing fee should be paid out of assets recovered by the
     Trustee.

     On My 24, 2018, the Court entered an Order Granting Trustee’s

Motion for Authorization to Pay Non-Estate Funds from Tax Refunds to


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Debtor indicating that Estate had a surplus of $3,901.32 to return to

Debtor (Doc. 28). It appears that there are sufficient funds in the Estate’s

account to pay the Chapter 7 filing fee in full.

       For this reason, it is

       ORDERED:

       1. The Order Approving Debtor’s Application to Have the Chapter

           7 Filing Fee Waive (Doc. 20) is VACATED.

       2. The Chapter 7 Trustee is directed to pay the full Chapter 7

           filing fee from the proceeds in the Estate’s account.

       DONE and ORDERED on            October 25, 2018                 .



                                                KAREN K. SPECIE
                                                Chief U. S. Bankruptcy Judge

cc: All parties in interest.




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